




	Docket No. 91291–Agenda 10–January 2002.

THE PEOPLE OF THE STATE OF ILLINOIS, Appellant, v. 								JEREMY DEVENNY, Appellee.

Opinion filed April 18, 2002.

JUSTICE THOMAS delivered the opinion of the court:

The sole issue in this case is whether the 15-year sentencing enhancement for armed robbery while in possession of a firearm (720 ILCS 5/18–2(a)(2), (b) (West 2000)) is valid and enforceable. We hold that it is not.



BACKGROUND

Defendant, Jeremy Devenny, was charged by indictment with robbery (720 ILCS 5/18–1 (West 2000)) and armed robbery while in possession of a firearm (720 ILCS 5/18–2(a)(2) (West 2000)). Although armed robbery is classified generally as a Class X felony, subsection (b) of the armed robbery statute provides that, for armed robberies while in possession of a firearm, “15 years shall be added to the term of imprisonment imposed by the court.” 720 ILCS 5/18–2(b) (West 2000). Prior to trial, defendant filed a motion arguing that the 15-year sentencing enhancement both violates the proportionate penalties clause of the Illinois Constitution (Ill. Const. 1970, art. I, §11) and constitutes an unlawful double enhancement. The circuit court of Du&nbsp;Page County agreed with both of defendant’s arguments, invalidated the 15-year enhancement, and dismissed the armed robbery count. The State immediately appealed under Supreme Court Rule 604(a)(1) (145 Ill. 2d R. 604(a)(1)). Because the trial court’s ruling invalidates a statute of this state, the appeal was taken directly to this court. 134 Ill. 2d R. 603.





ANALYSIS

A statute is presumed constitutional, and the party challenging the statute bears the burden of demonstrating its invalidity. 
In re K.C.
, 186 Ill. 2d 542, 550 (1999). This court has a duty to construe a statute in a manner that upholds its validity and constitutionality if it reasonably can be done. 
People v. Malchow
, 193 Ill. 2d 413, 418 (2000). Whether a statute is constitutional is a question of law that we review 
de novo
. 
Malchow
, 193 Ill. 2d at 418.

This appeal is controlled by our decision 
People v. Walden
, No. 90976 (April 18, 2002). In 
Walden
, this court concluded that the 15-year sentencing enhancement for armed robbery while in possession of a firearm violates the proportionate penalties clause of the Illinois Constitution and therefore is unenforceable. 
Walden
, slip op. at 5. Given the identity of issue between this appeal and 
Walden
, we hold that the trial court’s order invalidating the 15-year enhancement in this case was proper.



CONCLUSION

The judgment of the circuit court of Du&nbsp;Page County is affirmed, and the cause is remanded for further proceedings consistent with this opinion.



Affirmed and remanded
.


